       Case 4:04-cr-40059-JPG                       Document 66         Filed 10/25/05             Page 1 of 6         Page ID #122

% A 0 245B      (Rev. 06/05) Judgment in a Crimmal Case
                Sheet 1




                         SOUTHERN                                 District of                                  ILLINOIS

           UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                v.
               JAMES JEROME WILLIAMS
                                                                          Case Number:           4:04CR40059-OOI-JPG

                                                                          USM Number: 04585-025
                                                                           G. Ethan Skaggs
                                                                          Defendant's Attorney
THE DEFENDANT:
u p l e a d e d guilty to count(s)
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




 21 U.S.C. 841(a)(l)                 Possession with Intent to Distribute 5 Grams or More of                 7/26/2004                   2
                                     Cocaine Base

       The defendant is sentenced as provided in pages 2 through              10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is        are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attomey for this district within 30 da s of any change of name, resjdence,
or mailing address unt~!all fines, restitut~on,,costs,and specla1 assessments ~mposedby t h ~judgment
                                                                                              s          are fuyly paid. Ifordered to pay restltutlon,
the defendant must not~fythe court and Un~tedStates attorney of mater~alchanges In economlc circumstances.

                                                                           10/20/2005
                                                                          Date of Imposit~onof Judgment




                                                                           J. Phil Gilbert, District Judge
                                                                          Name of Judge                               T~tleof Judge
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A 0 245B      (Rev 06/05) Judgment in Criminal Case
              Sheet 2 - Imprisonment
                                                                                                         Judgment-   Page   2   of     10
 DEFENDANT: JAMES JEROME WILLIAMS
 CASE NUMBER: 4:04CR40059-OOI-JPG


                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  240 months (240 months on Count 1 and 108 months on Count 2. All Counts to run concurrent with each other).




      [I1 The court makes the following recommendations to the Bureau of Prisons:




      46 The defendant is remanded to the custody of the United States Marshal.
      [I1 The defendant shall surrender to the United States Marshal for this district:

           0 at                                          a.m.     [I1 p.m.     on
           C] as notified by the United States Marshal.
      [I1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           C] before 2 p.m. on
           [I1 as notified by the United States Marshal.
           C] as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                           to

 at                                                     , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                             By
                                                                                                    DEPUTY UNITED STATES MARSHAL
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A 0 245B      (Rev 06/05) Judgment in a Criminal Case
              Sheet 3 -Supervised Release
                                                                                                           Judgment-Page
                                                                                                                              3 0 f             10
DEFENDANT: JAMES JEROME WILLIAMS
CASE NUMBER: 4:04CR40059-001-JPG
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

  10 years ( 10 years on Count 1 and 6 years on Count 2. All Counts to run concurrent with each other).



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pr~sons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
 @ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o d ~ a ~ m e nsheet
                          t s of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physic~an;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permlsslon to do so by the pro%atlon officer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probat~onofficer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
           as directed by the robation officer, the defendant shall notify,third partiesof risks that may be occasioned by the defendant's criminal
           record or p r s o n a f history or characterist~csand shall permit the proballon officer to make such notlficatlons and to confirm the
           defendant s compliance with such notification requirement.
      Case 4:04-cr-40059-JPG                     Document 66   Filed 10/25/05        Page 4 of 6            Page ID #125
A 0 2458   (Rev 06\05) Judgment In a Crlmlnal Case
           Sheet 3C -Supervised Release
                                                                                            Judgment-Page      4   of      10
DEFENDANT: JAMES JEROME WILLIAMS
CASE NUMBER: 4:04CR40059-001-JPG

                                        SPECIAL CONDITIONS OF SUPERVISION
   The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of his net monthly income, whichever is greater.

   The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

   The defendant shall submit his person, residence, real property, place of busines, computer or vehicle to a search
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

   The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and /or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

   The defendant shall particiapte as directed and approved by the probation officer in treatment for narcotic addiction,
 drug dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may
 require residence and/or participation in a residential treatment facility. Any participation will require complete abstinence
 from all alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling and/or
 testing based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed
 the total costs of counseling.
       Case 4:04-cr-40059-JPG                       Document 66          Filed 10/25/05         Page 5 of 6         Page ID #126
A 0 245B   (Rev 06/05) Judgment In a Cr~minalCase
           Sheet 5 - Cr~minalMonetary Penalties
                                                                                                   Judgment -Page
                                                                                                                        5                10
DEFENDANT: JAMES JEROME WILLIAMS
CASE NUMBER: 4:04CR40059-001-JPG
                                              CRLMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                                                          Restitution
TOTALS            $ 200.00                                                                             $ 0.00



 [7 The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
    after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
      the priority order or percentage payment column$elow. However, pursuant to 18 Q s . 6 5 366481, all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                            Total Loss*       Restitution Ordered     Priority o r Percentage




TOTALS                               $                        0.00          $                     0.00


      Restitution amount ordered pursuant to plea agreement $

 [7   The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 81 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    &1' the interest requirement is waived for the [Cd fine [7 restitution.
       [7 the interest requirement for the          [7 fine   [7 restitution is modified as follows:



 * Findings for the total amount of losses are re uired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before Aprd 23, 199%.
       Case 4:04-cr-40059-JPG                      Document 66          Filed 10/25/05           Page 6 of 6          Page ID #127
A 0 245B   (Rev 06/05) Judgment In a Cr~mmalCase
           Sheet 6 - Schedule of Payments
                                                                                                         Judgment-   Page     6     of
                                                                                                                                              10
DEFENDANT: JAMES JEROME WILLIAMS
CASE NUMBER: 4:04CR40059-001-JPG

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment o f the total criminal monetary penalties are due as follows:

A     G;d Lump sum payment of $                              due immediately, balance due

                 not later than                                  , or
                 in accordance              C,        D,           E, or         F below; o r
B          Payment to begin immediately (may be combined with               C,           D, or       F below); or

C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period o f
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; o r

D          Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                          (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term o f supervision; or

E          Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment o f the defendant's ability to pay at that time; or

F     G;d Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or tent percent
            of his net monthly income, whichever is greater.




Unless the court has express1 ordered otherwise, ifthis judgment imposes imprisonment, a ment of criminal monetary penalties is due durin
imprisonment. All crlminafmoneta penalties, except those payments made througE &e Federal Bureau of Prisons' Inmate ~ i n a n c d
Responsibility Program, are made to x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restjtution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) pena   and (8) costs, lncludlng cost of prosecution and court costs.
